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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN) )                     MDL No. 2592
PRODUCTS LIABILITY LITIGATION )
                                    )              SECTION: L
____________________________________)
                                    )              JUDGE FALLON
THIS DOCUMENT RELATES TO:           )              MAG. JUDGE NORTH
Calhoon, et al., v Bayer Healthcare )
Pharmaceuticals Inc., et al.,       )
Case No.: 2:17-cv-17501-EEF-MBN     )
____________________________________)

                                   NOTICE OF SERVICE

       Notice is hereby given that, pursuant to Pre-Trial Order #10, issued on March 24, 2015,

Plaintiff has this date served the Complaint and Summons in the above entitled action upon

                             Bayer Pharma AG
                             Attn: Eva Gardyan-Eisenlohr
                             General Counsel
                             Muellerstrasse 178
                             13353 Berlin
                             GERMANY

by sending same via Registered U.S. Mail, Return Receipt Requested, and via electronic mail to

xareltocomplaints@babc.com.

DATED: January 8, 2018                      Respectfully submitted,

                                            s/Eric D. Holland
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                                            St. Louis, MO 63101
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                                            Attorneys for the Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2018, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to all

attorneys of record.

                                                     Respectfully submitted,

                                                     /s/ Eric D. Holland
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